Case 5:17-cv-00032-MFU-JCH Document 219 Filed 01/23/19 Page 1 of 1 Pageid#: 2436
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   CARRY H IXSO N ,

         Plaintiffy

  V.                                             CivilAction N o.: 5:17-CV-032
                                                                   5:18-CV-001

  BRYAN H U T CH E SON ,eta1.,                   By:    M ichaelF.U rbansld,
                                                           ClliefU .S.DistdctJudge
         D efendants.

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         DefendantDt.MichaelMoranmovedforsummaryjudgmentonNovember5,2018.
   ECF No.189.Thecourtheardargumentonlanuary3,2019.Forthereasonsstatedin the
   accom panying M em otandtlm Opil on,thecourtGRAN T S D efendant'sm otion.AIIclnim s

   againstD efendantare D ISM ISSED .Al1outstanding m otionsare D EN IE D as m ootand

   thiscaseisST RICKR N from the acdve docket.

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